Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 1 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 2 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 3 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 4 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 5 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 6 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 7 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 8 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 9 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 10 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 11 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 12 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 13 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 14 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 15 of 16
Case No. 1:22-cr-00113-CMA-GPG   Document 10   filed 05/27/22   USDC Colorado
                                 pg 16 of 16
